Case 6:23-ap-01055-SY         Doc 2 Filed 06/20/23 Entered 06/20/23 14:23:41 Desc
                              Main Document     Page 1 of 4
                                                            Effective August 1, 2020


                         STATUS CONFERENCE PROCEDURES
                            FOR THE HON. SCOTT H. YUN


          The court will set an initial status conference in all adversary proceedings and
  chapter 11 cases. Trial counsel must appear at the initial adversary proceeding status
  conference in person, and debtor’s counsel must appear at the initial chapter 11 status
  conference in person. Unless otherwise ordered by the court, parties and counsel may
  attend subsequent status conferences telephonically in accordance with Judge Yun’s
  telephonic appearance procedures (which are available on the court’s website,
  www.cacb.uscourts.gov, by clicking on “Judges,” “Our Judges,” and then the judge’s
  name).

  I.     STATUS REPORTS

           A.     A thorough, written status report, filed fourteen days in advance of the
  hearing, is required before every initial or continued adversary proceeding and chapter
  11 status conference. For adversary proceeding status conferences, the status report must
  be a joint status report using Local Bankruptcy Rule Form F 7016-1.STATUS.REPORT.
  This form is available on the court’s website. Failure to file a joint status report may
  result in the imposition of monetary sanctions or the status conference being continued
  and parties being ordered to redo the status report to conform to the Local Bankruptcy
  Rule form. For chapter 11 status conferences, please do not use the optional form F
  2081-1.1.C11.STATUS.RPT.

          B.      Pursuant to Local Bankruptcy Rule (“LBR”) 7016-1(a)(3), if a defendant
  has not responded to the complaint or fails to cooperate in the preparation of a joint status
  report, the plaintiff is required to file a unilateral status report not less than seven days
  before the date scheduled for the status conference. The unilateral status report shall
  include a declaration setting forth the attempts made by the plaintiff to contact or obtain
  the cooperation of the defendant in the preparation of a joint status report.

          A status report (either joint or unilateral) is not required only in the following
  limited circumstances:

             1. The matter is an adversary proceeding and, prior to the date scheduled for
                the status conference, the court has entered an order approving a
                stipulation that resolves all issues raised by the adversary proceeding that
                provides either for dismissal of the action in its entirety or the entry of
                judgment in the action.

             2. Prior to the date scheduled for the status conference, the court has entered
                an order approving a stipulation continuing the status conference to a later
                date (a written status report must be filed not less than fourteen days in
                advance of the continued status conference date).




                                           Page 1 of 4
Case 6:23-ap-01055-SY         Doc 2 Filed 06/20/23 Entered 06/20/23 14:23:41 Desc
                              Main Document     Page 2 of 4
                                                            Effective August 1, 2020


             3. The court has expressly relieved the parties of the obligation to file a
                written status report.

  Unless one of the three exceptions outlined above applies, status reports must be filed in a
  timely manner. Parties that fail to do so may be subject to a minimum sanction of
  $500.00, or such other sanctions as may be warranted under the circumstances or allowed
  under LBR 7016-1(f) and 11 U.S.C. § 105.

           Failure to appear for a status conference in an adversary proceeding may also
  result in a minimum sanction of $750.00, dismissal of the adversary proceeding for
  failure to prosecute, or such other sanctions as may be warranted under the circumstances
  or allowed under LBR 7016-1(f) and 11 U.S.C. § 105.

  II.    DEFAULT

          If a response to the complaint is not timely filed, the plaintiff should file a request
  for entry of default by the clerk. The plaintiff also may request entry of a default
  judgment by filing and serving (if necessary) an appropriate motion with supporting
  evidence. See Fed. R. Bankr. P. 7055 and LBR 9021-1(d).


  III.   FINAL JUDGMENT

          If the parties dispute whether the court can enter a final judgment or order in the
  adversary proceeding, they must file points and authorities in support of their positions.
  Any party contending that the court cannot enter a final judgment must file and serve a
  memorandum of points and authorities, along with evidence, in support of its position no
  less than fourteen days before the initial status conference. Any response must be filed at
  least seven days before the initial status conference. If a party does not file and serve
  its papers in a timely manner, that failure may be deemed consent to whatever
  determination the court makes.

  IV.    JURY TRIAL

          Any party claiming a right to trial by jury must make a timely demand as set forth
  in LBR 9015-2. Any party asserting a right to a jury trial must file and serve a
  memorandum of points and authorities, along with evidence, in support of its position no
  less than fourteen days before the initial status conference. Any response must be filed at
  least seven days before the initial status conference. If a party does not file and serve
  its papers in a timely manner, that failure may be deemed consent to whatever
  determination the court makes.

  V.     MISCELLANEOUS FOR ADVERSARY PROCEEDINGS

          1.     Unless otherwise ordered by the court, within seven days after the initial
  status conference, the plaintiff must submit a scheduling order.



                                           Page 2 of 4
Case 6:23-ap-01055-SY        Doc 2 Filed 06/20/23 Entered 06/20/23 14:23:41 Desc
                             Main Document     Page 3 of 4
                                                           Effective August 1, 2020



          2.     A copy of these instructions—including LBR Form F 7016-
  1.STATUS.REPORT attached as Exhibit A—must be attached to every copy of the
  complaint served upon a party, and the proof of service must state that a copy of these
  instructions was served along with a copy of the summons and complaint.




                                         Page 3 of 4
Case 6:23-ap-01055-SY   Doc 2 Filed 06/20/23 Entered 06/20/23 14:23:41 Desc
                        Main Document     Page 4 of 4
                                                      Effective August 1, 2020




                        EXHIBIT A
               (The plaintiff shall attach a copy of Local Rule Form
                        F 7016-1.STATUS.REPORT here)




                                    Page 4 of 4
